Case 3:17-CV-00101-RDI\/| Document 201

January 30, 2019

Filed Via ECF

The Honorable Robert D. Mariani

U.S. District Court, Middle District of Pennsylvania
Williarn J. Neaion Federal Building & U.S. Courthouse
235 North Washington Avenue

Scranton, PA 18503

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WILMERHALE

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Re: CFPB v. Navient Corp., et al., No. 3:17-cv-001()1~RDM (M.D. Pa.)

Dear Judge Mariani:

Pursuant to the Court’s January 16, 2019 Order (Doc. 159), Defendants Write on behalf of
the parties and non-party Seth Frotrnan to notify the Court that the parties and Mr. Frotman
consent to referral of the discovery dispute regarding the deposition of Mr. Frotman to the

Special Master.

Respeetfully submitted,

QQNYM/re

Jonathan E. Paikin

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